   Case 1:25-cv-04315-SHS-OTW                  Document 106          Filed 07/02/25   Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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 INRE:

                                                                     25-md-3143 (SHS) (OTW)
 OPENAI, INC.,
 COPYRIGHT INFRINGEMENT UTICATION                                    ORDER



 This Document Relates To:


 25-cv-4315

SIDNEY H. STEIN, U.S. District Judge.
    Defendants' motion to dismiss the complaint in Ziff Davis, Inc. v. OpenAI, Inc. (ECF
No. 52) 1 is denied as moot in light of plaintiffs' filing of the First Amended Complaint
(ECF No. 105) on July 2, 2025. Pursuant to Federal Rule of Civil Procedure 15(a)(3),
defendants' last day to respond to the First Amended Complaint by answer or motion is
July 16, 2025.



Dated: New York, New York
       July 2, 2025

                                                  SO ORDERED:




1 References to filings on ECF refer to the docket for Case No. 25-cv-4315.
